CaSe:l4-12297-SDB DOC#236 Filed:Ol/SO/J_B Entered:Ol/30/1514232227 Page:l Of 27

UNITED STATES BANKRUPTCY COURT
SOUTHERN DlSTRICT OF GEORGIA

AUGUSTA DlVISlON
)
IN RE: )
SCIENCE FITNESS, LLC, ) CHAP'I'ER ll
) CASE NO. 14-12297-SDB
Debtor )
)

VERIFICAT[ON OF AMENDMENT TO SCHEDULES

 

COME NOW, Science l~`imess, LLC, Debtor in the above-captioned Chapter ll case and

amends its Chapter l 1 Schedules D, E, F, G and Statement of Pinancial Affairs.

   
  
 
    

The Debtor verifies the foregoing amendment to its Schedules this

2015.

Prepared and presented

TODD BOUDREAUX
Georgia State Bar No. 070023
SHEPARD, PLUNKET'I`,

HAMILTON & BOUDREAUX, LLP
7013 Evans 'I`own Center Blvd., Suite 303
Evans, GA 30809

(706)869-1334

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860 (Ofl'icial Form 60) (lZN?]

In re

SeIenea Fltness, LLC

Debtor

Case No.

1§:_122§?

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as ol‘
the date of filing ofthe petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
il` the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens. gamishments, statutory liens, mongagcs, deeds of trust. and

other security interests

List creditors in alphabetical order to the extent practicable lt`a minor child is a creditor, the child's initials and the name and address of the child's

lof

guardian, such as 'A.B., a minor ehild. by .lohn Doc. guardian.' Do not disclose the child‘s name. See, ll U.S.C. §l 12 and Fed. R. Bai'lkr. l’. 1007(m). l all secured

creditors will not lit on this page, use the continuation sheet provided.
ll' any enti other than a spouse in a °oint case ma bc Jointly liable on a claim. lace an "X" iii the column labeled 'Codebtor" .include the entity on the appropriate

schedule ot`

claim is dis tired. place an "X' in the column labeled 'Disputcd". (¥otr may need to place an "X‘ ia more than one of these three columns.)
Total e columns labeled "Amount ot'Claim Without Dcductin anue of Collateral' and ‘Unsccured Portion, if Ariy' iri the boxes labeled 'Tctal(s)' on the last
sheer ol' the completed seltedule. Repolt the total l'rom the column la led 'Arnount of Cliiim" also on the Sumrnaiy ol`Schedule¢ and. il`the debtor is an individual with
marily consumer debls. report the total from the column labeled 'Unseeured Poition' on the Statistical Summary ofCertain Liabilitiee and Related Data.

ri
l'El Check this box if debtor has no creditors holding secured claims to report on this Schedulc D.

itors. and complete Sch tile H - Code tors. ll' a Joint petition is l'i| , stale whether the husband, wife, both of them. or the marital community may be
liable on each claim by placing an 'H’, 'W'. "l", or "C" iri the column labeled "liusband, Wil'e, loint. or Community"

ll'the claim is contingan place an 'X" in the column labeled 'Contlngcnt'. lt`thc claim is unliquidatcd, place an :'X" in the column labeled 'Unliquidated'. ll‘ the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ln re Selaneo Fitrtese, LLC

 

Debtor

Case No.

14-1 2297

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

(Continuatlon Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ln re Sclonce Fltness, LLC , Casc No._1_4;1229]____
chtor

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list ot' claims entitled to ptiority. listed separately by type of prioriiy, is to be set l`onh on the sheets provided Only holders ol` unsecured claims entitled
to priority should be listed in this schedule ln the boxes provided on the attached sheets. state thc name. mailing addrcs, including zip eodc. and last four digits of the
account numbcr. ifany. of all entities holding priority claims against the debtor or the property ol` the debtor. as ol'the date ol' the l`iling of the petition. Use a separate
continuation sheet for each type of priority and label each with the type ofpriority.

Thc complete account number ofany account thc debtor has with the creditor is useful to the trustee and the creditor and may be provided il` the debtor chooses to do
so. ll'a minor child is a erediior. state the child's initials and the name and address ot` the child's parent or guardian. such as "A.B.. a minor child. by lohn Doe. guardian.'
Do not disclose the child's name. Scc. ll U.S.C. §l 12 and Fed. R. Banltr, P. l007(m).

lt'any entity other than a spouse in a joint case may bcjointly liable on a elairn. place nn 'X" in the column labeled "Codcbror.‘ include the entity on the appropriate
schedule ot' creditors. and complete Schedule ll-Codebtors. ll’ ajoint petition is l'rled. stare whether the husband. wifc, both of thcm. or the marital community may bc
liable on each claim by placing an 'H," "W." `l.' or ‘C" in thc column labeled "l lusband. Wil'c. loint, or Community.' ll' the claim is conringcnt. place art "X" iri the
column labeled ‘Contingcnt.‘ ll` the claim is unliquidated. place nn ‘X' in the column labeled 'Unliquidatcd." |l' the claim is disputcd. place an 'X" in the column labeled
'Disputcd." [You may need to place an 'X' in more than one ol'these three columns.)

Report the total ol' claims listed on each sheet itt the box labeled "Subtotals' on each sheet Report the total of all claims listed on this Schedulc E in the box labeled
'Total' on the last sheet ol' the completed schedule. chon this total also on the Summary ofSchcdu|cs.

Report the total ol' amounts entitled to priority listed on each sheet in the box labeled "Subtotals' on each shcct. Report the total of all amounts entitled to priority
listed on this Schedu|e E in thc box labeled ‘Toials" on the last sheet ol` lhe completed schedule. lndividual debtors with primarily consumer debts report this total
also on the Starisrica| Summary of Certain liabilities and Relatcd Data.

R¢pon the total or amounts n_ot entitled to priority listed on each sheet in the box labeled "Subiota|s' on each sheet Repon thc total of all amounts not entitled to
priority listed on this Schedule E in the box labeled 'Totals' on the last sheet ofthc completed schedule. lndividual debtors with primarily consumer debts report this
total also on the Statisric:il Summtiry ofCertain l.iabilities and Related Dara.

D Chcclt this box it' debtor has no creditors holding unsecured priority claims to report on this Schedulc E.

T\’PES OF PR|OR|TY CLMMS (Check the appropriate boxtes) below it' claims iri that category are listed on the attached shcers)

n Domestie support obligations

Claims for domestic support that are owed to or recoverable by a spousc. former spouse. or child ot' thc debtor. or the parent. legal guardian. or responsible relative
ot` such a child. or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in l l U.S.C. § 507(a)( l).

|:l £xtensions of credit in an involuntary ease

Clairrts arising iri the ordinary course ofthe debtors business or linancial affairs after the commencement of the case but before the earlier of the appoith ol’ a
trustee or the order for reliel'. ll US.C. § $01ta)(3).

l Wages. salaries. and commissions

Wagcs. salaries. and commissions. including vacation. severance. and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to 512.475° per person carried within 180 days immediately preceding the liling ofthc original pctirion, or the cessation of business. whichever
occurred l'irst. to the extent provided in | l U.S.C. § 507(.1)(4).

D Contributions to employee benelit plans

Money owcd to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original pctition. or the cessation of business.
whichever occurred first. to thc extent provided iri ll U.S.C. § 507(a)(5).
l:l Certain farmers and fishermen

Claims of certain farmers and l'rshermen. up to SG.|$O° per fortner or t`tshcrman. against the debtor. as provided in ll U.S.C. § 507(a)(6).

D Deposits by individuals

Claims ol' individuals up to 32,175° for deposits for the purchase. lease. or rental ofproperty or services for personal. fami|y. or household use. that were not
delivered or provided. l l U.S.C. § 507(a)(7).

l Taxes and certain other debts owed to governmental units
Taxes. customs duties. and penalties owing to federa|. state. and local governmental units as set forth in l l U.S.C. § 507(:\)(8).

El Commitments to maintain the capital of an insured depository institution

Clnims based on commitments to the FD|C. RTC. Director of the Ol'lice of Thrih Sr.ipervision. Comptrollcr of the Cttrrency. or Doard ol’Goverrtors of the Federul
Rcserve System. or their predecessors or successors. to maintain the capital ol' an insured depository institution. l l U.S.C. § 507 (o)t\)),

Cl Clairtts |'or death or personal injury while debtor was intoxicated

C|:tr`ms for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated front using alcohol. a drug, or
another substance. l l U.S.C. § 507(a)( lO).

° /tnroant stro;ecr to argument on J 01 16. coil every three years thereafter with respcr.r lo cases commenced on or after tire rlorc ofcc/yunurenr.-

2 continuation sheets attached

 

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ln re Sclortce Fltrtess, LLC

Case No.

 

Debtor

1 4-12297

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIOR[TY CLAIMS

(Continuation Shect)

Wages, salaries, and commlssions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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|n re Sc|ence Fltness, LLC Case No. M?
Debtor

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORlTY CLAIMS

(Conlinuacion Shect)

Taxes and Certaln Other Deb\s
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BéF (O|'licial Fat'ttt 6F)(lI/07)

ln re Sctence Fltness, LLC Case No. 1§-13391

chtor

SCHEDULE F - CREDITORS_ HOLDING UNSECURED NONPRIORITY CLAIMS

Statc the namc. mailing address, including zip code. and last four digits of any account numbcr. ol`all entities holding unsecured claims without priority against the
debtor or the property of the debtor. as of the date of liling ol’ the petition. The complete account number of any account the debtor has with the creditor k useful to the
trustee and the creditor and may be provided il' the debtor chooses to do so. ll' a minor child is a creditor. state the child°s initials and the name and address ol' the child's
parent or guardian, such as 'A.B,.a minor child. by John Doe. guardian.' Do not disclose the child's namc. Scc. ll U.S.C. §l 12 and Fed. R. Bankr. ?. 1007(m). Do not
include claims listed in Schedules D and E. ll'all creditors will not l'tt on this page, usc the continuation sheet provided

ll' any entity other than n spouse in ajoint case may be jointly liable on a claittt. place an "X" in the column labeled "Codebtot'." include the entity on the appropriate
schedule ol'creditors. and complete Schedulc ll - Codebtors. l l` a joint petition is li|cd. slate whether the husband, wil'c. both of them. or the marital community may bc
liable on each claim by placing an 'H," "W." ".l.“ or "C' in the column labeled ”l-{usband. Wil'e. Joint, or Community."

llthe claim is comingan place an "X" in the column labeled "Contingent." l|'thc claim is unliquidatcd. place an 'X° in the column labeled 'Unliquidated.' ll’ the
claim is disputed. place an °X' in the column labeled "Disputed,' (You may need to place an "X' in more than one of these three columns.l

Report the total ofall claims listed on this schedule in the box labeled 'Total" on the last sheet of the completed schedule. Reporr this total also on the Sumtnary of
Schedules and. if the debtor is an individual with primarily consumer debts. report this total also on the Statistical Summary of Certain Liabilities and Related Data.

n Chcck this box il` debtor has no creditors holding unsecured claims to report on this Schedule |’.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Rlchrttond. VA 23285-5167
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Evans, GA 30809
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ln re Sclonce Fltness, LLC Case No. 15-133§1
Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRlORITY CLAIMS
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1563 Rlver leland Pkwy '
Evans, GA 30809
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Account No.
Dr. Goorge Willlams
5 Tall Plneo C|rcle -
Augusta. GA 30909
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Account No.
Dr. Murray Freedman
7 Retreat Road -
Augusta, GA 30909
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801 Broad Street, Sulta 950 '
Augusw, GA 30901
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14-12297

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ln re Sclance Fitness, LLC Case No.
Debtor
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRlORlTY CLAIMS
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Evans, GA 30809
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319 Bucl¢ston Lane -
Evans; GA 30809
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866 (Ofl'tcial Form GG) (lZ/D?)

 

in re Selence Fltness, LLC - Cae No. 14.12297
Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts ol` any nature and all unexpired leases of real or personal property. lncludc any timeshttne interests. State nature

ofdebtor's interest in contract. i.e., "Purchascr". 'Agent". ctc. State whether debtor is the lessor or lessee ofa lease. Providc the names and
complete mailing addresses ofall other parties to each lease or contract described. ll` a minor child is a party to one ol' the leases or conlt'¢tctsi

state the chi|d‘s initials and the name and address ol`thc child's Ertrent or guardian. such as "A.B., a minor child. by John Doc. guardian." Do not
disclose the child's name. Sec. l l U.S.C. §l 12 and Fed. R. Ban r. P. l007(m).

U Chcck this box if debtor has no executory contracts or unexpired leases.

 

Dcscri lion ol` Contract or Lease and Nature of Debtor‘s lnterest.

 

xa'"'~` and M“i""g .Add"’$$' '"c|“di"B ZiP C°d°- tate whether lease is for nonresidential real ro ~ .
°r 0"‘°" palms l° l-'~`°S° °" C°"“'a°l State contract number of any government cgntr|:g.y
ABC Flnartelal Servlce. lnc. Bllllng Servlces Agreement
P.0. Box 6800
North thtle Rock. AR 72124
Gym Holdlngs, LLC Commerclal Property Lease

clo Rleh Slmeone
4411 C|eveland Avonue
Fort Myers, FL 33901

TCF Equlpment Flnance, lnc. Gym Equlpmont Lease
1111 West San Marnan Drlve
Waterloo, |A 50701

0
continuation sheets attached to Schedule of Executory Contracts and Uttexpircd Leoses

Sdt¢aso chn¢a(e) 10%-20\4¢00¢ ¢aao. LLC -m.bostt:no.com

BestCaaBmurmtq

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B1 (Oflieial For'rn 7) (t.'M/lJ)
United States Bankruptcy Court
Soutbem District of Georgia
ln re Science Fitr'tensl LLC CaseNo. 14¢12_2_97

 

Debtor(s) Chapter 11

STATEMENT OF FINANCIAL AFFAIRS - AMENDED

This statement is to be completed by every debtor. Spouses filing ajoint petition may tile a single statement on which the information for
both spouses is combined. lf the case is filed under chapter l2 or chapter l3. a married debtor must furnish information for both spouses whether or
not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed. An individual debtor engaged in business as a sole
pmpn°etor, partner, family l`armer. or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor ehildren, state the child's initials and the
name and address of the child's parent or guardian. such as "A.B., a minor child. by lohn Doe, guardian." Do not disclose the child's name. Sce, l l
U.S.C. § ll2; Fed. R. Bankr. P. l007(m).

Questions l - lB are to be completed by all dcbtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 ~ 25. lf the answer to an applicable question ls "None," mark the box labeled "None.” lf additional space is needed for the answer
to any queetion, use and attach a separate sheet properly identified with the ease name. case number (if known). and the number of the question.

DEFINITIONS

"In businesr." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership An individual debtor is "in
business” for the purpose of this form if the debtor is or has becn. within six years immediately preceding the filing of this bankruptcy casc. any of
the following: an officer. director, managing cxecutive, or owner of$ percent or more of the voting or equity securities of a comeration; a partncr,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business”
for the purpose of this form if the debtor engages in a trade. business. or other activity, other than as an employee, to supplement income from the
debtor’s primary employment.

"In.rr'der. "The term "insidcr“ includes but is not limited to: relatives of the debtor; general partners of the debtor and their relativec:
corporations of which the debtor is an oi'licer, director, or person in control; ofi'tcers, directors, and any persons in control ofa corporate debtor and
their relatives; affiliates of the debtor and insiders of such afl'lliates; and any managing agent of the debtor. l i U.S.C. § 101(2), (3 l ).

 

i. lncome from employment or operation of business

N°'l° State the gross amount of income the debtor has received from empioyment, trade. or profession, or from operation of the debtor's
n business. including part-time activities either as an employee or in independent trade or thsiness, from the beginning of this calendar
year to the date this me was eommenced. State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained. financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. identify the beginning and ending dates of the debtofs fiscal year.) lf ajoint petition is riled, state income for
each spouse separately. (Married debtors filing under chapter l2 or chapter 13 must state income of both spouses whether or not ajoint
petition is tiled, unless the spouses are separated and ajoint petition is not filed.)

AMOUN'I` SOuRCt.-`.

$708,000.00 2014 YTD: Selenr:o Fltneaa, LLC
$876,700.00 2013: Selence Fltnoas. LLC
$1,623,000.00 2012: Selenee Fltneaa, LLC

 

2. lneome other than from employment or operation of business

N°“ State the amount of income received by the debtor other than from employment. trade, profession, or operation of the debtors business
. during the two years immediately preceding the commencement of this ease. Give particulars if ajoint petition is tiled, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter l3 must state income for each spouse whether or not a joint
petition is liled. unless the spouses are separated and ajoint petition is not filed.)

AMOUNT SOURCE

sMoCW(e)tBSB-zotwestcao.uC-mm.eam hamm

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3. Payment.s to creditors
N°“‘ Campletc a. or b., as appropriate and c.

a. individual or joint debtor(.r) with primarily consumer debts: List all payments on loans, installment purchases of goods or services,
and other debts to any creditor made within 90 days immediately preceding the commencement of this case unle the aggregate value
of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterislt (*) any payments that were
made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
payments by either or both spouses whether or not ajoint petition is liled, unless the spouses are separated and ajoint petition is not
liled.)

NAME ma Aaaaass ar\'rt~:s or= AMouNr srrr.r.
or= cRr=.arroR PAYMENTS AMOUNT FAID owrNo

N¢m¢ b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
immediately preceding the commencement of the ease unless the aggregate value ofall property that constitutes or is all'ected by such
transfer is less than $6,225'. if the debtor is art individual, indicate with an asterisk (°) any payments that were made to a creditor on
account of a domestic support obligation or as part of an altemative repayment schedule under a plan by an approved nonprolit
budgeting and credit counseling agency. (Mam'ed debtors filing under chapter 12 or chapter 13 must include payments and other
u'ansfers by either or both spouses whether or not a joint petition is tiled, unless the spouses are separated and a joint petition is not

filed.)
AMOUNT
DATES OF pAID OR
PAYMENTSI vALUE OF AMOUNT S’l'lLL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING
Please see Exhlblt "A" $0.00 $0.00

N¢m¢ c. Ali debtors List all payments made within one year immediately preceding the commencement of this ease to or for the benefit of
creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not ajoint petition is liled, unless the spouses are separated and ajoint petition is not filed.)

NAME AND Aaaruzss oF cru=.arron AND AMouNT srrr.r.
RELATroNerP To aea'ron DATE OF PAYMENT AMOUNT PA|D owrNo
Pleasa aea Exhlblt "B” $0.00 $0.00

 

4. Suits and administrative proceedings, executions, garnishments and attachments

N°'"~' a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
n this bankruptcy ease. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
whether or not ajoint petition is liled, unles the spouses are separated and ajoint petition is not liled.)

CAPTION OF SUlT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDI'NG AND I.OCAT|ON DlSPOSITlON
Kant Johnson v. Selanca Fitnesa, LLC Sult on Nota Suparlor Court of Coiumbla County Pendlng
Clvll Actlon Flle No. 2014-CV-0813

Marc Pttts v. Selanca Fltnees, LLC Sult on Nota Suparior Court of Columbla County Pandlng
Clvll Aetlon File No. 2014-CV-0812

Charlaa H. Whlte v. Selance Fitnesa. LLC Sult on Note Suparlor Court of Co|umbia County pending

Clvll Aetlort Flle No. 2014-CV¢0782

Nonc b. Describe all property that has been attached. garnished or seized under any legal or equitable process within one year immediately
l preceding the commencement of this case. (Married debtors liling under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not ajoint petition is liled. unless the sporses are separated and ajoint petition is not
filed.)

' Amount subject to adjustment on 4/0[//6. and every three years thereafier with respect to cases commenced on or afier the date ofadju.rtment.

summagatq ioaa-2014 aaa case u.c -..mmtemm mem arm

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NAME AND ADDRESS OF PERSON FOR WHOSE DESCR|P'T|ON AND VALUE OF
BENEF|T PRDPER'I'Y WAS SEIZED DATE OF SElZURE PROI’ERTY

 

5. Repossessions, foreclosures and returns

N°“¢ Li_st all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
l returned to the scller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not ajoint petition is liled. unless the
spouses are separated and ajoint petition is not filed.)

DATB OF REPOSSESSION.
NAME~AND ADDRESS OF FORECLOSURE SALE, DESCRll’I‘lON AND VALUE OF
CREDITOR OR SELLER TRANSFER OR lugng PROPERTY

 

6. Asslgarnents and receiverships

N°"¢ a. Deseribe any assignment of property for the benefit of creditors made within 120 days immediately preceding thc commencement of
l this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is iiled, unless the spouses arc separated and ajoint petition is not filed.)

DATE OF
NAME AND ADDRESS OF ASSIGNEE AS$|GNMENT TERMS OF ASS{GNMENT OR SE'I'I'LEMENT

Non¢ b. List all property which has been in the hands of a custodian. receiver. or court.appointed official within one year immediately
l preceding the commencement of this case. (Mam'ed debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not ajoint petition is filed, unless the spouses arc separated and ajoint petition is not

 

filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCR|FflON AND VALUE OF
OF CUSTOD|AN CASE TiTLE & NuMgER ORDER PROPERTY
7. Glfts

N°"‘~` List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
l and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than 5100 per recipient (Married debtors filing under chapter l2 or chapter 13 must include gihs or contributions by
either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

 

NAME AND ADDRESS OF RELAT|ONSH|P TO DESCRIP'I`ION AND
PERSON OR ORGANIZATION DEBTOR. lF ANY DATE OF GlFT VALUE OF GIFT
8. Losses

N°"¢ List all losses from fire. thel!, other casualty or gambling within one year immediately preceding the commencement of this case or
l since the commencement ofthis case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not ajoint petition is filed, unless the spouses arc separated and ajoint petition is not filed.)

DESCRIP'T|ON OF CIRCUMSTANCES AND, lF

DESCRIFT|ON AND VALUE LOSS WAS COVERED lN Wl-lOLE OR IN PART
oi= raoi>aim' BY msuiu\NcE. Give PAaricui.Aas DATE OF LOSS

seasoraCopyripnt(e) 1996-2014 Bost Case. t.LC -m.bosi=osotoom Boslcoso Banwualsy

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9. Payments related to debt counseling or bankruptcy

 

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N°“¢ List all payments made or property transferred by or on behalf of the debtor to any pcrsons, including attorneys. for consultation

n concerning debt corLso|idation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately

preceding the commencement of this case.
DA’I`E OF PAYMENT. AMOUNT OF MONEY
NAME AND ADDRESS NAMi~: oi-' PAYER ii= oriit-:R on Dascnii'riou AND vAi.uE
OF PAYF-E TiiAN i)eaToa or-‘ PRoPERTv
Todd Boudreaux September 23. 2014 $1,200.00
7013 Evana Town Center Blvd
Suite 303
Evana, GA 30809
10. Other transfers
N°"¢ a. List all other property, other than property transferred in the ordinary course of thc business or financial affairs of the debtor.

l transferred either absoluter or m security within two years immediately preceding the commencement ofthis case. (Man'ied debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not ajoint petition is filcd, unless thc
spouses are separated and ajoint petition is not liled.)

NAME AND ADDRESS OF TRANSFEREE. DESCR|BE PROPERTY TRANSFERRED
RELA'I`|ONSH|P ‘I`O DEBTOR DATE AND VALUE RECE|VED
N\m¢ b. List all property transferred by the debtor within ten years immediately preceding the commencement of this ease to a self-sealed
l trust or similar device of which the debtor is a bcneficiary.
NAME Oi-` TRUST 0R OTHER AMOUNT OF MONEY OR DESCRIPT!ON AND
DEVlCE DATB(S) OF VALUE OF PROPERTY OR DEBTOR'S iNTERBST
TRANSi-`ER(S) lN PROPERTV
ll. C|osed linanclal accounts
N°"° List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or

. otherwise transferred within one year immediately preceding the commencement of this case. lncludc checking. savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds.
cooperatives associations brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must
include information concerning accounts or instruments held by or for either or both spouses whether or not ajoint petition is liled.
unless the spouses are separated and ajoint petition is not liled.)

TYPE OF ACCOUNT. LAST FOUR
DIGITS OF ACCOUNT NUMBF.R, AMOUNT AND DATE OF SALE
NAME AND ADDRF.SS OF iNSTlTUTION AND AMOUNT op F[NAL BALANCE OR CLOS|NG
12. Safe deposit boxes
N°“¢ List each safe deposit or other box or depository in which the debtor has or had securitics. casb. or outer valuables within one year

l immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not ajoint petition is liled, unless the spouses are separated and ajoint petition is riot
liled.)

NAMBS AND ADDRESSES
NAME AND ADDRESS OF BANK op 11-|055 wm.| ACCES$ DESCRlP'|`lON DATE OF TRANSFER OR
OR OTHER DEPOSlTORY TO Box OR DEpOS|ToRY OF CON'I`ENTS SURRENDER. lF ANY
13. Setoffs
N°“¢ List all setoffs made by any creditor. including a bank, against a debt or deposit of the debtor within 90 days preceding the
. commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed. unless the spouses are separated and ajoint petition is not liled.)
NAME AND ADDRESS OF CREDiTOR DATE OF SETOFF AMOUNT OF SE'I'OFF

m CW (¢) im?°l( B¢l! CMQ, ll.C » W.NW.M

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14. Property held for another person

N:'¢ List all property owned by another person that the debtor holds or contro|s.

NAME AND ADDRESS OF OWNER DESCRIPT|ON AND VALUE OF PROPERTY LOCATION OF PROPERTY

 

15. Prior address of debtor

N°“¢ lfthc debtor has moved within three years immediately preceding thc commencement of this case. list all premises which the debtor
occupied during that period and vacated prior to the commencement of this case. if ajoint petition is tiled, report also any separate
address of either spouse.

ADD|USS NAME USED DATES OF OCCUPANCY

 

l6. Spoiises and Former Spouses

N°"¢ ll'thc debtor resides or resided in a community property statc, common\vcalth. or territory (including Alaslta, Arizona, Califomia, Idaho,
l bouisiana. chada. New Mcxieo, Puerto Rico, Texas. Washington. or Wlsconsin) within eight years immediately preceding the
commencement of the case. identify the name of the debtor‘s spouse and of any fenner spouse who resides or resided with the debtor in

the community property statc.

NAME

 

17. Envlronmental lnt'ormatlon.
For the purpose of this question. the following definitions apply:

"Environmcntal Law' means any federal. state. or local statute or regulation regulating pollution, contamination. releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface watcr, groundwater, or other mcdium, including, but not limited to,
statutes or regulations regulating the cleanup of these substances wastes. or moterial.

"Site" means any location, facility. or property m defined under any Enviionmental Law, whether or not presently or formerly owned or
operated by the debtor. including but not limited to, disposal sites.

“Haaardous Matcrial" means anything defined as a hazardous wastc, hazardous substance. toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None a. List the name and address of every site for which the debtor has received notice in writing by a govemmental unit that it may be liable
l or potentially liable under or in violation of an Environrnental Law. indicate the governmental unit, the date of the notice, and. if ltnown.

the Environmental Law:

NAME mo Aouiiass or= bare oi= ENvmoNMi-:NTAL
SITE NAMB AND ADDRESS ooveaNMaNTAt uNiT Norica Law

Nonc b. List thc name and address of every site for which tlie debtor provided notice to a governmental unit of a release of Hazardous
l Material. indicate the governmental unit to which the notice was sent and thc date of the notice.

NAMa ANo Ai)i)rtizss or DA'rr-: oF ENViRONMENTAL
SlTE NAMB AND ADDRESS GovERNMENTAL uNl'r No'rlcE LAw

blum c. List all judicial or administrative prooeedings, including settlements or orders, under any Environmcnta| Law with respect to which
l the debtor is or was a party. indicate the name and address of the govemmcntal unit that is or was a pany to the proceeding and the
docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKI:`.'I` NUMBER STATUS OR DlS?OSlTlON

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18 . Nature, location and name of' business

N°“° a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers. nature of the businesscs, and beginning and
n ending dates ofall businesses ln which the debtor was an oi'ticer, director, partner, or managing executive of a corporation, partner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part~time within six years
immediately preceding the commencement of this case. or in which the debtor owned 5 percent or more of the voting or equity securities

within six years immediately preceding the commencement of this case.

if the debtor is apartnershtp, list the names, addresses taxpayer identification numbers, nature of thc businesses and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of` the voting or equity securities. within six
years immediater preceding the commencement of this case.

lf the debtor is a corporation, list the names, addresses. taxpayer identification numbets. nature of' the businesses, and beginning and
ending dates of' all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.

LAST FOUR DlGlTS OF
SOC|AL~SECUR|TY OR
OTHER t’NDiVIDUAL
TAxPAvF.R-l.o. No. BEGINN|NG AND
NAME (|T|N)/ COMpLETE EIN ADDRESS NATURE OF BUSINE$S ENDING DATES
Sclencc Fltness. LLC 45.2600621 P.O. Box 1010 l-ieaith and Fitnoas Club July. 2011
Evans, GA 30808

None b. identify any business listed in response to subdivision a.. above. that is "single asset real estate‘ as defined in l l U.S.C. § lOl.
NAME ADDRESS

Thc following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement ol' this casc, any ofthe following: an ol'liccr, director. managing executive. or
owner elmore than 5 percent ol` the voting or equity securities of' a corporation; a partner. other than a limited partner, of a partnership. a sole

pmpn'etor. or self-employed in a tradc. profession. or other aetivity, either l`ufl- or part-timc.

(An individual or joint debtor should complete tht'.r portion of the statement only if the debtor is or has been in business as defined abave. within
six years immediately preceding the commencement of this case. rt debtor who has not been in business within those six years should go directly to

the signature page.)
l9. Books, records and financial statements

N°“¢ a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
supervised the keeping of books of account end records of' the debtor.

NAME AND ADDRI:`.SS DATES SERV|CES RENDERED
Chrta Sehlpper 201 1 - Preaent

276 ngh Chaparrel Drive

Auguata, GA 30901

Non¢ b. List all firms or individuals who within the two years immediately preceding the filing of` this bankruptcy case have audited the books
l ofaccount and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERV|CES RENDERED
Nme c. List all fums or individuals who at the time ofthe commencement of` this ease were in possession ol` the books of account and records
U of the debtor. lf` any of` the books ol' account and records are not available, explain.
NAMF. ADDRBSS
Chria Schippar 275 ngh Chaparral Drivo
Frlmary Bookkeeper, Produce F’&t., Bataneo Sheots, e‘te. Augusta, GA 30907

momm(e)tSBB-Zmeaestcou.uC-m.ba¢mm unconscqu

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NAME ADDRESS
W. Larry Hoguo
Proceasad PayrolllAccounw Payabla

Nonc d. List all financial institutions creditors and other parties, including mercantile and trade agencies. to whom a financial statement was
l issued by the debtor within two years immediately preceding thc commencement of this case.

NAME AND ADDRESS DATE ISSUED

 

20. inventories

N°“¢ a. List the dates of the last two inventories taken of your property. the name of the person who supervised the taking of each inventory,
. and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY

N¢I\¢ b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
l
NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF [NVENTORY RECORDS

 

21 . Cur'r'ent Partners, Oiiicers, Directors and Shareholdcrs

NE]"* a. lf the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

NAME AND ADDRESS NATlJRE OF lNTEREST PERCENTAGE OF iNTEREST
Greg Klrby 45%

1703 Anberlay Fasa

Evana, GA 30809

W. Larry l'logue, Jr. 45%
2035 Edenton Trlal
Evana. GA 30809

Ray Pelasky 10%
319 Buckston Lana
Evans, GA 30809

Nene b. It` the debtor is a corporation. list all oflicers and directors ol` the corporation. and each stockholder who directly or indirectly owns.
l controls. or holds 5 percent or more ol' the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS Ti'l`LE OF STOCK OWNERSHlP

 

21 . Former partners, omcers. directors and shareholders

N°‘\° a. if the debtor is a parmership. list each member who withdrew from the partnership within one year immediately preceding the
l commencement of th's case.

NAME ADDRESS DATE OF WlTHDRAWAL

N°ne b. lt`the debtor is a corporation. list all oi`l`icers, or directors whose relationship with thc corporation terminated within one year
l immediately preceding the commencement of this case.

NAME AND ADDRESS TI’l`LE DATE OF TBRMINAT|ON

me m (e) tm-ZWM Bost€ma. |.LC - m.bmteoao.com Ba¢! Caaa Benuupfty

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23 . Withdrawals from a partnership or distributions by a corporation

N°“° if the debtor is a partnership or corporation list all withdrawals or distributions credited or given to an insider, including compensation
l in any fonn, bonuses. loans. stock redemptions, options exercised and any other pcrquisite during one year immediately preceding the

commencement of this case.
NAME&AooREss AMouNT or-' MoNEY
or aacirtanr. DATE AND PURPOSE oa oascan'non AND
RBLATrONsr-m> 'ro DEBTOR OF WlTHDRAWAL vALua or-' PRoPaRTY

 

24. Tax Consolidation Group.

N°“° if the debtor is a corporation, list the name and federal taxpayer identilication number of the parent corporation oi' any consolidated
. group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement

of the case.

NAME OF PARF.NT CORPORAT|ON TAXPAYER IDENTlFICATION NUMBER (EIN)

25. !’ension Funds.

N°"° if the debtor is not an individual. list the name and federal taxpayer-identification number of any pension fund to which the debtor. as an
employcr, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENS|ON FUND TAXPAYER lDENTlFICATlON NUMBER (EI'N)

¢0....

DECLARATION UNDER PENALTY OF PERJURV ON BEHALF OF C RPORATION OR PARTNERSHIP

l declare under penalty of perjury that l have read the answers contained in ° ent of finan ’a affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, inform ' n d belief
rt }/[A/\

  
     
     

 

Date January 28,2015 Signature . .
W. l.arry i-togua,Jr./ l
Ownor

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Peno!o'for making afol:¢ srarernent: Fr‘ne ofup ro 3500.000 or lmpn':onmenlfor up ro Syear.r. ar borh. 18 U.S.C. §§ 152 and 35 71

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Selanea Fltnaas, LLC
chapter 11 Caaa No. 14-12291
SOFA Na. 3(b)
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Setanco Fltnass, LLC

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Sctonco Fltnaaa, LLC
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Jan - Doe 14

DOC#:SG awaits/times
Bill Payments for Hogue, Larry - AP
JaBMry thgonu°%ntoecember 2014

 

Typo Num
Bill Fmt -Check 12105/2014 1.000.00
Bi|let-Check 991411152 1202/2014 500.00
Bill Pmt-Checlt 991411146 lint/2014 1.000.00
Bil|Pmt£heck 991411132 lill7l2014 1.000.00
BiIlet-Check 991403121 lino/2014 1.000.00
Bill Pmt -Checlt 11/05/2014 1,000.00
Bill Pmt -Check 11/03/2014 500.00
Billet-Check 991410293 1081/2014 500.00
Billet~Check 991410222 10/27/2014 1.500.00
Bill Pmt-Check 991410081 10/|0/2014 1.000.00
Billet-Check 991410021 10I06!2014 1.000.00
Bil|Frnt~Check 991409241 09!26!2014 1.250.00
Sill Pmt -Check 09/23!2014 1.000.00
Bill Pmt-Checlt 9914170901 09/19/2014 750.00
Bil|Pmt.Chedt 9914090301 09105/2014 1.000,00
Billel-Check 9914082701 08/29/2014 1,000.00
Bll|Pmt-Check 9914082202 08!26!2014 625.00
Bi|let~Check 9914082001 08122!2014 625.00
Billei-Checlt 101364 08/19/2014 750.00
Bill Pmt¢Check 101362 08/18/2014 500.00
Billet-Check 101354 08/12!2014 500.00
Billet-Check 101348 08104/2014 1.250.00
Billet-Chock 101341 07/25!2014 1.250.00
Bill Fmt £heck 07/17/2014 1,000.00
Bill Fmt »Check 0711512014 500.00
Billet-Check 101323 07l08/2014 1.000.00
Billet-Check 101316 06l26l2014 1.000.00
Bill Pmt -Chedt 0611 712014 1.000.00
Bi|lel-Check 06/17/2014 1.000.00
Bil|Pmt-Check 101313 06112/2014 1.000.00
Billet»Check 101338 05/30/2014 1.000.00
Bil|Pmt-Checlt 101332 05/28!2014 1.000,00
Bii|Pmt-Check 101319 05/20/2014 1.000.00
Bill Pmt-Chedt 101316 05/16/2014 500.00
Bill Pmt -Chedt 05!13/2014 500.00
Billet-Check 101298 05106/2014 1.000.00
Billel-Cheok 101291 04!29/2014 1.000.00
Bll|Pmt-Clteek 101278 04122/2014 1.000.00
Billet»Check 101264 04!15!2014 1.000.00
Bil|Pmt-Cheok 101254 04!08l2014 1.000.00
BillPrnt~Chedt 101249_ . 04!01/2014 1.000.00
Biilet-Cheok 101242 03121/2014 v 1,000.00
Bi|let-Check 101230 03l14l2014 1,000.00
Billet-Check 101212 03!10/2014 1.000.00

 

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Jan - Dec 14

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Bill Payments for Hogue, Larry - AP
JaMgry th£MntDecamber 2014

 

Typo Nurn
Billet-Check 101205 02/28!2014 1.000.00
Bi||Pmt~Check 101287 02!25/2014 1.000.00
Bill Pmt »Cheok 02/19/2014 1.000.00
Bill Pt'nl -Check 02/14/2014 1.000.00
Bi|let-Check 101262 02111/2014 1.000.00
Bi||Pmt~Check 101257 02/03:‘2014 l.000.00
Biilet-Check 101246 01/28/2014 1.000.00
Bi|let-Cheek 101232 01/17/2014 1,000.00
BillPrnt-Check 101217 01/10!2014 1.000.00
Bill Pmt-Check 101214 01/08/2014 1.000.00

 

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Bill Payments for Pelasky, Ray - AP
Type Num JaB§[§fy fh§¢,>“l£gilhbocember 2014

Bill Pmi~Chedt 99140312_2 12/05/2014 1.500.00
Bi|lei-Check 991411153 12/02/2014 500.00
Bl|lFmi-Chedt 991411149 11l25/2014 500.00
Billel-Check 991411147 11/21!2014 1.000.00
Billet-Check 991411133 11I17l2014 1.000.00

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Bill Pmt -Check 11110/2014 1.000.00
Bill Pmt -Chedt 11/05/2014 1.500.00
Bill Pmt -Check l 1I03l2014 750.00

aianr-cnecx 991410294 rom/2014 soo.oo
authr-ched< 991410223 10127:2014 2.250.00
aumr-cneck 991410082 10/10/2014 1.825.00
alumni-cheat 991410022 toms/2014 1.825.00
sumr-ched< 991409242 asme/2014 1.750.00 .
am pmi .check' 09/23/2014 1.200.00
ainpmc.cneck 9914090302 oates/2014 1.500.00
ealpmr.cveek 99140s2702 ome/2014 1_500.00

BHI Pmi -Chedt 101365 08119/2014 1.125.00
Bill Pmt -Check 101363 08/18!2014 750.00
Bill Pmt -Chedt 101355 08/12/2014 750.00
Bill Pmt ~Check 101349 08/04/2014 1.875.00
Bill Pmt -Chetk 07l1712014 1.500.00
Bill Pmt £hedt 07l15!2014 750.00
Bill pmi -Citedt 101322 07/08/2014 1.500.00
Bill Pmt -Check 101317 05!26!2014 1.500.00
Bill F'rnt »Chedt 05/1 7I2014 1.500.00
Bill Pmt -Ch€t;k 06/17/2014 1.500.00
Bill Pml ¢Check 101314 08/12!2014 1.500.00
Bill Pmt -Cheok 101339 05/30!2014 1.500.00
Bill Pmt -Check 101333 ` 05I28I2014 1,500.00
Bill Pmt -Check 101320 05/20!2014 1.500.00
Bill F’mt -Check 101317 05116!2014 750.00
Bill Pml -Chedt 0511 3/2014 750.00
Bill Pmt -Chedt 101299 05106!2014 1.500.00
Bill Pmi »Chedt 101292 04129/2014 1.500.00
Bill Pmt -Cl'tedt 101279 04122!2014 1.500.00
Bill Pmi -Chedt 101265 04l15/2014 1.500.00
Bill Pml -Chedt 101255 MOUZ014 1.500.00
Bill Pmi »Chedt 101248 04101!2014 1.500.00
Bill Pml -Chet'.lt 101243 03121/2014 1.500.00
Bill Pml ~Chedt 101231 03I1 412014 1.500.00
Bill Frnt ~Che¢$t 101213 03!10/20.14 , 1.500.00
Bill Pmt ~Chedt 101206 02!28/2014 1.500.00
Bill Pmt ~Cl'tec‘k 101288 02!25!2014 750.00
Bill Pmt ~Chock 101285 02121/2014 750.00
Bill Pmt ~Checlt 02ll 9/2014 500.00

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canons Bill Payments for Pelasky, Ray - AP
mm mm JaBH§ry mmnpeeember 2014
Bi|lF'mt-Check 101272 02/14/2014 1.000.00
am Pmt check 02/14/2014 soo.oo
Billet-Citeck 101263 02/11/2014 1.500.00
Billet-Check 101258 02/03/2014 1.500.00
Bi|let~Checlt 101247 01/28/2014 500.00
Bill Pmt ~Cl'teck 01/24!2014 500.00
Billle-Check 101245 01l24l2014 1.000.00
aiqurcvedr 101233 crm/2014 1,500.00
Billet-Check 101218 01/10l2014 1,500.00
Bl||Pmt-Check 101215 01/08/2014 500.00
Bill Pmi'Check 101213 01/08/2014 1.000.00
Jan ~ Doe 14 68,350.00

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CERTIFICATE OF SERVICE
This is to certify that a copy of the VERIFICAT!ON and AMENDMENT TO
SCHEDULES was served upon the following partics:

Of`i`rce of the U.S. Trustee

Via ECF Electronic Filr‘rrg
This § §zday of January, 2015.

 

 

TODD BOUDREAUX
Attorney for Debtor
Georgia State Bar No. 070023
SHI:`.PARD, PLUNKE'I'T,
HAMILTON & BOUDREAUX, LLP
7013 Evans Town Center Blvd., Suite 303
Evans, GA 30809

(706)869~1334

